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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN



 JOSHUA GARCIA, ANDREA P. BRANDT            )
 and HOWARD HART, individually and on       )
 behalf of all others similarly situated,   )   Civil Action No. 20-cv-01078
                                            )
                           Plaintiffs,      )   Hon. Paul L. Maloney
                                            )
                    v.                      )   Mag. Phillip J. Green
                                            )
 ALTICOR, INC., THE BOARD OF                )
 DIRECTORS OF ALTICOR, INC., THE            )
 FIDUCIARY COMMITTEE OF ALTICOR,            )
 INC., and JOHN DOES 1-30.                  )
                                            )
                           Defendants.


 PLAINTIFFS’ BRIEF IN OPPOSITION TO DEFENDANTS’ MOTION FOR PARTIAL
    RECONSIDERATION OF THE COURT’S ORDER DENYING DEFENDANTS’
 MOTION TO DISMISS, OR, IN THE ALTERNATIVE, TO CERTIFY THE ORDER ON
     DEFENDANTS’ MOTION TO DISMISS FOR INTERLOCUTORY APPEAL
                         UNDER 28 U.S.C. § 1292(b)
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          Plaintiffs Joshua Garcia, Andrea P. Brandt, and Howard Hardt (together, “Plaintiffs”), by

 and through their attorneys, respectfully submit this opposition to Defendants’1 Reconsideration

 Motion.2

     I.      INTRODUCTION

          The Court should deny Defendants’ Reconsideration Motion of the Court’s August 9, 2021

 Order denying Defendants’ motion to dismiss in its entirety (ECF No. 22). The Order denied

 Defendants’ motion to dismiss because, under the long-standing Iqbal/Twombly pleading

 standards, Plaintiffs more than adequately alleged facts to support claims that Defendants acted

 imprudently in administering the Plan. The Reconsideration Motion does not set forth any valid

 basis for reconsideration or, alternatively, certification of the August 9, 2021 Order for

 interlocutory appeal.

          First, the Smith v. CommonSpirit, 37 F.4th 1160 (6th Cir. 2022) and Forman v. TriHealth,

 Inc., -- F.4th --, 2022 WL 2708993 (6th Cir. July 13, 2022) decisions do not constitute intervening

 changes in controlling law because neither case established a “bright line rule” regarding the claims

 ERISA plaintiffs can and cannot allege on behalf of a retirement plan.

          Second, both cases represent narrow, case specific decisions that are wholly distinguishable

 from the present matter.

          Third, the Court’s August 9, 2021 Order does not meet the requirements of 28 U.S.C. §

 1292(b) to warrant certification of the Order for interlocutory appeal because the Court’s August


 1
   “Defendants” refers collectively to Alticor, Inc. (“Alticor”), The Board of Directors of Alticor,
 Inc. (“Board”), and The Fiduciary Committee of Alticor, Inc. (“Committee”), and John Does 1-
 30.
 2
   Defendants’ Brief In Support of Defendants’ Motion for Partial Reconsideration or, In the
 Alternative, to Certify the Order on Defendants’ Motion to Dismiss for Interlocutory Appeal Under
 28 U.S.C. § 1292(b) (ECF No. 39) is referred to herein as “Defs. Mem.” or “Reconsideration
 Motion.” All references to “¶” or “Complaint” are to the Class Action Complaint (ECF No. 1).


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 9, 2021 Order does not raise novel legal issues that present a substantial ground for difference of

 opinion where reasonable jurists might disagree on an issue’s resolution. Rather, the issues present

 here involve only whether Plaintiffs have alleged enough facts to adequately plead a claim for

 breach of ERISA’s fiduciary duties in this case.

          As such, the Court should deny Defendants’ Reconsideration Motion and alternative

 request for certification of the August 9, 2021 Order for interlocutory appeal.

    II.      STANDARD OF REVIEW

             A. Motion for Reconsideration

          The Sixth Circuit has stated, “[d]istrict courts have authority both under common law and

 Rule 54(b) to reconsider interlocutory orders and to reopen any part of a case before entry of final

 judgment.” Rodriguez v. Tenn. Laborers Health & Welfare Fund, 89 Fed. Appx. 949, 959 (6th

 Cir. 2004). “Traditionally, courts will find justification for reconsidering interlocutory orders

 when there is (1) an intervening change of controlling law; (2) new evidence available; or, (3) a

 need to correct a clear error or prevent manifest injustice.” Id. “Motions for reconsideration are

 disfavored, and a motion for reconsideration is unfounded unless it either calls…attention to an

 argument or controlling authority that was overlooked or disregarded in the original ruling,

 presents evidence or argument that could not previously have been submitted, or successfully

 point)s out a manifest error of fact or law.” Davie v. Mitchell, 291 F.Supp.2d 573, 634 (N.D. Ohio

 2003. As the court in MacArthur v. San Juan Cnty. stated, a motion for reconsideration “do[es]

 not provide litigants with an opportunity for a ‘second bite at the apple’ or allow them like Emperor

 Nero, to ‘fiddle as Rome burns’, or license a litigation ‘game of hopscotch’, allowing parties to

 switch from one legal theory to a new one ‘like a bee in search of honey.’” MacArthur v. San Juan

 Cnty., 405 F.Supp.2d 1302, 1305-06 (D. Utah 2005).




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                 B. Certification for Interlocutory Appeal

              A district court may certify an order for interlocutory appeal if the following three

 conditions exist: “[1] the order involves a controlling question of law to which there is [2]

 substantial ground for difference of opinion and … [3] an immediate appeal may materially

 advance the termination of litigation.” 28 U.S.C. § 1292(b).

       III.      FACTUAL BACKGROUND AND PROCEDURAL HISTORY

              Plaintiffs commenced this action with the filing of a Class Action Complaint on November

 9, 2020 (ECF No. 1). In the Complaint, Plaintiffs allege Defendants breached their fiduciary duties

 under §§ 409 and 502 of ERISA,3 29 U.S.C. §§ 1109 and 1132, by, inter alia, (1) failing to

 administer the Plan in a prudent manner; (2) failing to adequately monitor the Plan’s recordkeeping

 expenses; (3) selecting and retaining funds with investment management fees in excess of fees for

 funds in similarly-sized plans; (4) selecting and retaining five underperforming funds in the Plan

 from 2014 through May 2020; (5) failing to investigate the availability of lower cost collective

 trusts; one of the Plan’s funds with substantial assets was not in the lowest fee share class available

 to the Plan; (6) failing to investigate certain lower cost passively managed funds; and (7) breaching

 their duty of loyalty to the Plan and its participants. ¶¶ 58-138. On February 19, 2021, Defendants

 filed their Motion to Dismiss Plaintiffs’ Complaint Under FED. R. CIV. P. 12(b)(1) and 12(b)(6)

 (ECF No. 9). On April 16, 2021, Plaintiffs filed their Brief In Opposition to Defendants’ Motion

 to Dismiss Plaintiffs’ Complaint Under FED. R. CIV. P. 12(b)(1) and 12(b)(6) (ECF No. 14).

 Defendants filed a Reply In Support of Defendants’ Motion to Dismiss Plaintiffs’ Complaint

 Under FED. R. CIV. P. 12(b)(1) and 12(b)(6) on May 19, 2021 (ECF No. 20). The Court denied

 Defendants’ motion to dismiss in its entirety on August 9, 2021 (ECF No. 22).


 3
     The Employee Retirement Income Security Act of 1974.


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          On July 19, 2022, Defendants filed the present Motion for Partial Reconsideration of the

 Court’s Order Denying Defendants’ Motion to Dismiss, or, In the Alternative, To Certify the Order

 On Defendants’ Motion to Dismiss for Interlocutory Appeal Under 28 U.S.C. § 1292(b) (ECF No.

 39). Defendants ask this Court to reconsider its decision on the motion to dismiss alleging the

 Sixth Circuit’s decisions in Smith v. CommonSpirit, 37 F.4th 1160 (6th Cir. 2022) and Forman v.

 TriHealth, Inc., -- F.4th --, 2022 WL 2708993 (6th Cir. July 13, 2022), would have affected how

 the Court decided the motion to dismiss. Defendants also filed a Motion to Stay Further Litigation

 Pending Resolution of Defendants’ Motion for Partial Reconsideration or, In The Alternative, To

 Certify the Order on Defendants’ Motion to Dismiss for Interlocutory Appeal Under 28 U.S.C. §

 1292(b) on July 19, 2022 (ECF No. 40). On July 21, 2022, the Court entered an Order instructing

 Plaintiffs to respond to Defendants’ motion for reconsideration within fourteen (14) days (ECF

 No. 41). Plaintiffs filed their Brief in Opposition to Defendants’ Motion to Stay Further Litigation

 Pending Resolution of Defendants’ Motion for Partial Reconsideration of the Court’s Order

 Denying Defendants’ Motion to Dismiss, or, In the Alternative, To Certify the Order On

 Defendants’ Motion to Dismiss for Interlocutory Appeal Under 28 U.S.C. § 1292(b) (ECF No.42).

    IV.      ARGUMENT

             A. The Sixth Circuit’s Decisions in CommonSpirit and TriHealth are Not
                Intervening Changes in Controlling Law

          “Motions for Reconsideration serve a limited function, and are generally only warranted

 when there is: (1) an intervening change of controlling law; (2) new evidence available; or (3) a

 need to correct a clear error or prevent manifest injustice.” Pegg v. Davis, 2009 WL 5194436, at

 *1 (S.D. Ohio Dec. 22, 2009) (citing Dualite Sales & Servs., Inc. v. Moran Foods, Inc., 2005 WL

 2372847, at *1 (S.D. Ohio Sept. 26, 2005)). Motions for Reconsideration “are not intended to

 relitigate issues previously considered by the Court or to present evidence that could have been



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 raised earlier.” Pegg, 2009 WL 5194436, at *1 (citing J.P. v. Toft, 2006 WL 689091, at *13 (S.D.

 Ohio Mar. 15, 2006)).

        Here, Defendants rely on the first factor: intervening change of controlling law. But the

 decisions in CommonSpirit and TriHealth do not create the type of clear-cut rule regarding

 pleading requirements in breach of fiduciary duty cases that render the Court’s August 9, 2021

 Order one that constitutes a “palpable defect” under W.D.Mich. Local Civil Rule 7.4(a). For

 example, in Kowalski v. Mich. State Univ., 2021 U.S. Dist. LEXIS 34376 (W.D. Mich. Feb. 24,

 2021), which Defendants cite, the court granted a motion for reconsideration because intervening

 law created a bright line rule that impacted the ultimate merits of the case. In that case, the Sixth

 Circuit issued a decision that was “broad and clear, and its application to Kowalski's claim [wa]s

 straightforward.” Id. at *4. The court found under new Sixth Circuit guidance, “Kowalski must

 plead “[1] an incident of actionable sexual harassment, [2] the school’s actual knowledge of it, [3]

 some further incident of actionable sexual harassment, [4] that the further actionable harassment

 would not have happened but for the objective unreasonableness (deliberate indifference) of the

 school’s response, and that the Title IX injury is attributable to the post-actual-knowledge further

 harassment.” Id. (citing Kollaritsch, 944 F.3d at 623-24). The court concluded “Kowalski’s claim

 only satisfies the first and second elements.” Id.

        No similar bright line rule was created by CommonSpirit or TriHealth. While Defendants

 suggest the Sixth Circuit’s decisions in CommonSpirit and TriHealth warrant a reevaluation of the

 August 2021 motion to dismiss decision, a closer reading of the Sixth Circuit’s decisions

 demonstrates these cases are not instructive here.

        First, the complaint in CommonSpirit boiled down to the following: “Yosaun Smith claims

 that her retirement plan should have offered a different mix of fund options, in particular that it




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 should have replaced actively managed mutual funds with passively managed mutual funds.” Id.

 at 1162.    More specifically, the plaintiff “mainly compares the Fidelity Freedom Funds’

 performance to the Fidelity Freedom Index Funds’ performance for a five-year period, noting that

 the Freedom Funds trailed the Index Funds by as much as 0.63 percentage points per year.” Id. at

 1165.

         In TriHealth, the plaintiffs alleged that eight of the plan’s investment options “charged

 higher fees than ‘available alternatives in the same investment style’” and “the subpar selection of

 investment options led to administrative fees that were too high for the plan as a whole.” TriHealth,

 40 F.4th 443 (6th Cir. 2022). Additionally, the plaintiffs claimed that the plan “failed to offer

 cheaper institutional shares instead of more expensive retail shares” for seventeen of the plan’s

 mutual funds.

         Here, Plaintiffs’ Complaint alleges much more. Plaintiffs allege several factors, not just

 one or two, that give rise to a plausible inference that Defendants breached their fiduciary duties.

 The totality of circumstances included:

            B. Defendants Failed to Adequately Monitor the Plan’s Recordkeeping Expenses

         The outrageous sums Defendants caused the Plan and participants to pay for recordkeeping

 and administrative services are one indication of their breach of their fiduciary duties. Fidelity is

 the Plan’s recordkeeper and the Plan stayed with the same recordkeeper over the course of the

 Class Period. ¶ 66, 72. The Plan utilized revenue sharing to pay for recordkeeping which saddled

 Plan participants with excessive, above-market recordkeeping fees. ¶ 65. While not per se

 imprudent, revenue sharing unchecked “is devastating for Plan participants.” ¶ 64. The Plan’s per

 participant recordkeeping fees as determined from the publicly filed Form 5500s during the Class

 Period were as follows:




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                               Hard Dollar          Indirect                              Per
                                                                    Total Comp to
    Year    Participants       Payments -          Payments –                          Participant
                                                                       Fidelity
                                Fidelity            Fidelity                              Cost
    2018        5,281           $457,002            $703,410          $1,160,412        $219.73
    2017        5,318           $404,870           $1,302,536         $1,707,406        $321.06
    2016        5,466           $436,297           $1,395,293         $1,831,590        $335.09
    2015        5,564           $205,610           $1,021,477         $1,227,087        $220.54
    2014        5,780            $52,857           $1,112,014         $1,164,871        $201.53


 ¶ 66. It appears as of May 2020, the Plan obtained an annual administration Fee for Core Services

 charge of $53 per participant. ¶ 73. This amount was still above reasonable rates and only refers

 to a small portion of the fees actually charged for administration and recordkeeping.

        According to a survey published by the 401k Averages Book (20th ed. 2020), a plan with

 2,000 participants and $200 million in assets has an average recordkeeping and administration cost

 (through direct compensation) of $5 per participant. ¶ 68. Looking at the above chart cited in the

 Complaint, direct recordkeeping costs (derived by dividing the Hard Dollar Payments by the

 number of participants) were as follows:

                               Hard Dollar
    Year    Participants       Payments -          Per Participant Direct Recordkeeping Costs
                                Fidelity
    2018        5,281           $457,002                                 $85
    2017        5,318           $404,870                                 $76
    2016        5,466           $436,297                                 $80
    2015        5,564           $205,610                                 $37
    2014        5,780            $52,857                                $9.14


        Thus, when making an apples-to-apples comparison of the Plan’s direct recordkeeping

 costs, it had costs well above the $5 average plans with half as many participants and a fifth of the

 assets paid for recordkeeping. ¶ 68. In 2018 the Plan paid seventeen times this average. Another

 frame of reference is from case law where it has been found billion-dollar plans can bargain for




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 low recordkeeping fees, with reasonable rates typically averaging around $35 per participant. ¶

 69, n. 7.

              C. Many of the Plan’s Funds Had Investment Management Fees In Excess of Fees
                 for Funds in Similarly-Sized Plans

         Another indication of Defendants’ fiduciary breach is that several funds in the Plan were

 more expensive than comparable funds found in similarly sized plans (conservatively, plans having

 over $1 billion in assets). Id. at ¶ 75. The expense ratios for funds in the Plan had a difference of

 246% (in the case of Baron Growth Instl.) and a difference of 243% (in the case of Hotchkis &

 Wiley Mid-Cap Value I) above the median expense ratios in the same category. ¶ 85. These same

 discrepancies existed when looking at average expense ratios. ¶ 86. Despite the excessive costs,

 Defendants failed to replace the imprudent funds during the Class Period. ¶ 87.

             D.   Defendants Maintained Five Underperforming Funds In the Plan From 2014
                  through May 2020

         Yet another indication of Defendants’ fiduciary breach is their failure to remove five

 underperforming funds until May of 2020: the Hotchkis & Wiley Mid-Cap Value I, American

 Funds Europacific Growth R6, Lazard Emerging Markets Equity Instl., Templeton Global Bond

 R6, and the T.Rowe Price New Era I. ¶ 88. All five funds underperformed in their 1-, 3-, 5-, and

 10-year comparisons as of June 30, 2020. Id. Despite the funds’ clear underperformance and

 excessive expense ratios, Defendants failed to replace the funds during the Class Period. ¶ 89.

         E. Failure to Investigate Availability of Lower Cost Collective Trusts

         A further indication of an imprudent monitoring process is Defendants’ failure to timely

 consider nearly identical target date collective trusts offered by Fidelity to replace the Fidelity

 target dates in the Plan. These Fidelity collective trusts were available on the market in October

 2007. Id. at ¶ 93. Prior to 2018, the Plan incurred excess fees due to Defendants’ failure to




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 adequately investigate the availability of Fidelity collective trusts which had the same asset

 allocation as the Fidelity target date mutual funds in the Plan. Id. at ¶ 94. The Plan could have

 reaped considerable cost savings by using collective trusts given the Plan’s significant

 concentration in Fidelity target date funds. Id. During the Class Period, at least thirteen of the

 Fidelity Freedom K target date funds in the Plan could have been converted to collective trusts.

 Id. at ¶ 95 (listing funds). The fees for the Plan’s target date funds ranged from 27% to 103%

 more expensive than the collective trust version. Id.

        F. One of the Plan’s Funds With Substantial Assets Was Not in the Lowest Fee Share
           Class Available to the Plan

        During the Class Period, several funds in the Plan had identical lower share counterparts

 that were never selected by the Plan’s fiduciaries. Id. at ¶ 101. The lower cost funds were identical

 in all ways except price. Id. at ¶ 102. For example, the Vanguard Small Cap Growth Index I cost

 217% less than its identical counterpart, the Vanguard Small Cap Growth Index Inv which

 remained in the Plan despite its excessive fees. Id. at ¶ 104. Accordingly, the lower share class

 for the fund had greater net returns, lower financial risks, more services offered, and/or greater

 management flexibility than its more expensive counterpart. Id. at ¶ 107. Defendants claim this

 fund was never offered by the Plan. Yet the 2018 Form 5500 shows as of December 31, 2018

 there was $40,293,856 worth of the Vanguard Small Cap Growth index fund in the Plan. See

 Defendants’ Exhibit E, ECF 9-6, at p. 35 of 41; see also ¶ 104 (alleging same).

        G. Failure to Investigate Lower Cost Fidelity Passively Managed Funds

        Finally, a further indication of an imprudent monitoring process, is Defendants failed to

 investigate the benefits vs. drawbacks of selecting available passively managed Fidelity target

 date index funds to replace the Fidelity funds already in the Plan. Id. at ¶ 112. Measured by

 several different benchmarks, actively managed funds vastly underperform passively managed



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 funds over long periods. Id. at ¶¶ 115-129. Here, specifically, almost all of the funds in the active

 Fidelity Freedom Suite underperformed the passively managed Freedom Index Suite during the

 last three-and-five year annualized basis.         Id. at ¶ 131.       Despite the demonstrated

 underperformance of the Plan’s funds, Defendants failed to investigate these lower cost Fidelity

 alternative investments during the Class Period, which cost the Plan and its participants millions

 of dollars. Id. at ¶ 134.

                                                 ****

         Considering the totality of the above factors, the Court reached the conclusion that

 Plaintiffs had stated a plausible claim for breach of fiduciary duty. The CommonSpirit and

 TriHealth complaints did not allege these extensive facts or allegations. Accordingly, the Sixth

 Circuit’s decision in those matters do not invalidate the Court’s motion to dismiss order.

         Defendants argue “the Sixth Circuit’s clarified standard plainly bars four of five Plaintiffs’

 claims, and the dismissal of those four claims will significantly narrow the scope of Plaintiffs’

 class action claims.” Motion to Stay at 1. As stated above, the Sixth Circuit pronounced no such

 specific standard in CommonSpirit. Before the ink on its CommonSpirit opinion dried, the Sixth

 Circuit issued the TriHealth decision making clear that, in appropriate cases, plaintiffs may

 proceed with ERISA breach of fiduciary duty claims alleging selection and retention of imprudent

 investment options.

         In rejecting Defendants’ arguments, the TriHealth court noted that in “Hughes v.

 Northwestern University, the Supreme Court rejected a bright line rule, derived from Hecker

 and Loomis, that a broad menu of funds could itself defeat an imprudence claim premised on one

 particular offering that performed poorly or had high fees.” Id. 2022 WL 2708993, at *6 (citing

 142 S. Ct. at 742) (emphasis added). This is contrary to Defendants’ suggestion that “in Smith,




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 the Sixth Circuit definitively clarified the pleading standard for Plaintiffs’ claims.” Defs. Mem. at

 3. The TriHealth court also rejected an alternative explanation for TriHealth’s choice to offer

 retail shares: revenue sharing. The court stated: “The theory merely provides a competing

 inference for why TriHealth offered retail-class funds. Revenue sharing remains ‘one plausible

 inference, but it is not the only one.’” Id. at *7 (quoting Davis, 960 F.3d at 483). Thus, TriHealth

 demonstrates that the Sixth Circuit did not intend to create any bright line rule in CommonSpirit

 that would deny plaintiffs the ability to state a claim for excessively investment options.

        The Sixth Circuit’s narrow, case specific decisions in CommonSpirit and TriHealth are

 unlikely to have any bearing on the motion to dismiss already considered by this Court here.4

        H. Certification of the August 9, 2021 Order for Interlocutory Appeal Is
           Inappropriate

        Contrary to Defendants’ arguments, the Court’s August 9, 2021 Order does not meet the

 requirements of 28 U.S.C. § 1292(b) to warrant certification of the Order for interlocutory appeal.

 A district court may certify an order for interlocutory appeal if the following three conditions exist:

 “[1] the order involves a controlling question of law to which there is [2] substantial ground for



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   After the Sixth Circuit issued its decisions in CommonSpirit and TriHealth, the District of
 Maryland entered an Order in line with this Court’s August 9, 2021 denial of Defendants’ motion
 to dismiss. In Moler v. Univ. of Maryland Medical Sys., et al., No. 1:21-cv-01824-JRR (D. Md.
 July 13, 2022) as here, the plaintiffs alleged the plans’ funds underperformed both cheaper
 comparator funds and their benchmark indices over several years. See Moler, 2022 WL 2756290,
 at *4. In denying the defendants’ motion to dismiss, the court distinguished Commonspirit,
 finding, “Plaintiffs’ allegations are far more robust than those in Smith, where Smith essentially
 relied on a thin charge that there may have been better options out there.” Id. at *5. Rather, the
 court concluded, “Plaintiffs’ allegations go beyond reliance upon other investments that
 outperformed the selected funds. Plaintiffs complain that the funds at issue underperformed, using
 other investments as a comparator, and that Defendants’ continued inclusion of the
 underperforming funds amounts to imprudence in violation of Defendants’ duties.” Id. Here,
 Plaintiffs similarly allege that, measured against several different benchmarks, Defendants
 selected and retained excessively expensive and chronically underperforming investment options
 for the Plan. FAC ¶¶ 58-134.



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 difference of opinion and … [3] an immediate appeal may materially advance the termination of

 litigation.” 28 U.S.C. § 1292(b).

        While a complaint’s sufficiency is a question of law, here, the second factor requiring

 “substantial ground for difference of opinion” is not met. “A substantial ground for difference of

 opinion exists where reasonable jurists might disagree on an issue’s resolution, not merely where

 they have already disagreed.” Reese v. BP Exploration, Inc., 6433 F.3d 681, 688 (9th Cir. 2011).

 “Stated another way, when novel legal issues are presented, on which fair-minded jurists might

 reach contradictory conclusions, a novel issue may be certified for interlocutory appeal without

 first awaiting development of contradictory precedent.” Id.

        The legal issues in this case are not novel. The question raised by Defendants in their

 motion to dismiss is whether Plaintiffs adequately alleged their claims that Defendants breached

 their fiduciary duties under ERISA in their administration of the Plan. This is a case specific, fact

 intensive inquiry that this Court already considered last year. In In re Trump, which Defendants

 rely, the court permitted appeal of its partial denial of defendants’ motion to dismiss to consider

 whether plaintiffs alleged “a facially valid claim and, if so, whether the First Amendment applies

 to bar the claim here.” In re Trump, 874 F.3d 948, 951 (6th Cir. 2017). Unlike in Trump,

 Defendants are not suggesting that a particular statute would outright bar Plaintiffs’ claims.

 Rather, here, the issue is only whether Plaintiffs have alleged enough facts to adequately plead a

 claim for breach of ERISA’s fiduciary duties in this case. The fact that the Sixth Circuit concluded

 the plaintiffs in CommonSpirit and TriHealth did not allege facts to meet their pleading

 requirements in those specific cases does not automatically require reevaluation of Plaintiffs’

 claims here. Plaintiffs address this case’s distinctions from CommonSpirit and TriHealth supra.




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 Neither case is instructive here. Thus, Defendants cannot demonstrate that the issues presented

 here are so novel that “fair-minded jurists might reach contradictory conclusions.”

    V.      CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request the Court deny Defendants’

 motion for partial reconsideration in its entirety, as well as deny Defendants’ request to certify the

 order on Defendants’ motion to dismiss for interlocutory appeal under 28 U.S.C. § 1292(b).


 Dated: August 4, 2022                          Respectfully submitted,

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